Case 2:25-cv-01963-MEF-MAH                   Document 100       Filed 03/23/25      Page 1 of 1 PageID: 424

                                    CREATING                                       Main Street Legal Services, Inc.
                                    LAW                                                     CUNY School of Law
                                    ENFORCEMENT                                                     2 Court Square
                                    ACCOUNTABILITY &                             Long Island City, NY 11101-4356
                                    RESPONSIBILITY                                             www.cunyclear.org



  Via ECF                                                                            March 23, 2025
  Honorable Michael E. Farbiarz
  United States District Judge
  U.S. Post Office & Courthouse
  Federal Square
  Newark, New Jersey 07101

            Re:       Khalil v. Joyce, et al., Civ. Act. No. 25-1963 (MEF)
                      Proposed Deadline for Petitioner’s Reply to Respondents’ Opposition to
                      Petitioner’s Motion for Release

  Dear Judge Farbiarz:
          On behalf of Petitioner, and pursuant to this Court’s Order, ECF 85, I write to inform the
  Court that Petitioner will file his reply in further support of his motion for release by Tuesday,
  March 25, 2025, at 5:00 pm ET, or at the earliest possible opportunity, in light of the urgency of
  Petitioner’s underlying motion.
                                                       Respectfully submitted,
                                                       /s/ Naz Ahmad
                                                       Naz Ahmad
                                                       CLEAR PROJECT
                                                       MAIN STREET LEGAL SERVICES, INC.
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